                                Case 8:19-bk-05842-MGW                     Doc 1      Filed 06/20/19            Page 1 of 53

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fresh Alternatives, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA Crispers
     Include any assumed          DBA Crispers LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1476 Town Center Drive, Suite 219
                                  Lakeland, FL 33803
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Polk                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.crispers.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:19-bk-05842-MGW                         Doc 1         Filed 06/20/19             Page 2 of 53
Debtor    Fresh Alternatives, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                               Case 8:19-bk-05842-MGW                        Doc 1        Filed 06/20/19             Page 3 of 53
Debtor   Fresh Alternatives, LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.

                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?           See attached list of properties.
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No

                                                 Yes.    Insurance agency      Bridgefield Employers Ins. and Old Dominion Insur.
                                                         Contact name          Acentria, Inc.; Kathleen Jones
                                                         Phone                 813-689-0021


         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                             Case 8:19-bk-05842-MGW                        Doc 1        Filed 06/20/19             Page 4 of 53
Debtor    Fresh Alternatives, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 20, 2019
                                                  MM / DD / YYYY


                             X   /s/ Phil Birkhold                                                        Phil Birkhold
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Operating Officer




18. Signature of attorney    X   /s/ Bradley S. Shraiberg                                                  Date June 20, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bradley S. Shraiberg 121622
                                 Printed name

                                 Shraiberg Landau & Page PA
                                 Firm name

                                 2385 NW Executive Center Dr
                                 Suite 300
                                 Boca Raton, FL 33431
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561 443 0800                  Email address      bss@slp.law

                                 121622 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
           Case 8:19-bk-05842-MGW           Doc 1    Filed 06/20/19   Page 5 of 53




Petition #12
Addresses for properties that contain perishable items:

    1476 Town Center Dr., Lakeland, FL 33803
    217 North Kentucky Ave, Lakeland, FL 33801
    1568 Town Center Dr., Lakeland, FL 33803
    1754 E. Hwy 50, Clermont, FL 34711
    410 Citi Centre Street, Winter Haven, FL 33880
    11019 Causeway Blvd, Brandon, FL 33511
    620 Commerce Center Dr., #101, Jacksonville, FL 32225
Case 8:19-bk-05842-MGW   Doc 1   Filed 06/20/19   Page 6 of 53
                                    Case 8:19-bk-05842-MGW                           Doc 1         Filed 06/20/19                Page 7 of 53


 Fill in this information to identify the case:
 Debtor name Fresh Alternatives, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Annie D. Rye                                                                                                                                                               $7,361.46
 15820 Rye Lane
 Tampa, FL 33625
 Banyan Equity                                                                                                      $750,000.00               $378,766.41               $371,233.59
 Investors II, Inc.
 1111 Brickell Ave
 Suite 1300
 Miami, FL 33131
 Banyan Mezzanine                                                UCC                                             $4,000,000.00                $378,766.41             $3,621,233.59
 Fund II, LP
 1111 Brickell Ave
 Suite 1300
 Miami, FL 33131
 Brixmor GA                                                      7th Judicial                                                                                             $68,958.84
 Cobblestone Village                                             Circuit - St. Johns
 at Royal Palm                                                   County
 Beach, LLC                                                      Case No. CA
 305 State Rd 312                                                19-0547
 Saint Augustine, FL
 32086
 Casto-Oakbridge                                                 Corp. Office                                                                                               $4,721.48
 Venture, LTD
 C/O Casto
 P.O. Box 1450
 Cleveland, OH 43216
 Casto-Oakbridge                                                 Store #001                                                                                               $16,662.67
 Venture, LTD
 C/O Casto
 P.O. Box 1450
 Cleveland, OH 43216
 Centro GA                                                                                                                                                                $58,025.60
 Cobblestone Village
 at St. Aug
 PO Box 713460
 Cincinnati, OH
 45271-3460



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                    Case 8:19-bk-05842-MGW                           Doc 1         Filed 06/20/19                Page 8 of 53


 Debtor    Fresh Alternatives, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CH Retail Fund                                                                                                                                                           $16,455.90
 I/Tampa Brandon
 LLC
 c/o Inwood National
 Bank
 PO Box 852664
 Richardson, TX
 75085
 DDRTC Market                                                                                                                                                             $44,255.70
 Place LLC
 Dept. 107847 30394
 20274
 P.O. Box 534410
 Atlanta, GA
 30353-4410
 Downtown Discount                                                                                                                                                        $10,077.97
 Produce
 7856 Ellis Road
 Melbourne, FL
 32904
 Jolito, Inc. dba SSI                                                                                                                                                       $9,031.46
 Services
 333 N. Falkenburg
 Rd
 Ste B223
 Tampa, FL 33619
 KRG Northdale, LLC                                                                                                                                                       $38,313.06
 Attn Property
 Accountant
 Northdale
 Promenade
 PO Box 743810
 Atlanta, GA
 30374-3810
 Lakeland Electric                                                                                                                                                          $3,628.02
 P.O. Box 32006
 Lakeland, FL
 33802-2006
 Lucas Clermont                                                                                                                                                             $9,295.22
 Limited PA
 Nat'l Assn Account
 #4260602807
 P.O. Box 1450
 Columbus, OH
 43216
 Retail Equities LLC                                                                                                                                                        $4,076.17
 1 Sleiman Parkway
 Suite 250
 Jacksonville, FL
 32216




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                    Case 8:19-bk-05842-MGW                           Doc 1         Filed 06/20/19                Page 9 of 53


 Debtor    Fresh Alternatives, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SUSO 4 North                                                                                                                                                             $62,171.87
 Branch LP
 Keybank Lockbox
 Operations
 PO Box 74773
 Cleveland, OH
 44194-4773
 University Park -                                                                                                                                                        $65,797.86
 Phase I Associates
 P.O. Box 5148
 Winter Park, FL
 32793-5148
 Walton Signage,                                                                        Disputed                                                                          $10,550.36
 Ltd.
 c/o Pulman
 Cappuccio
 & Pullen, LLP
 2161 NW Military
 Hwy, # 400
 San Antonio, TX
 78213
 Waterford Lakes                                                 9th Judicial                                                                                             $69,590.16
 Town Center, LLC                                                Circuit - Orange
 Simon Property                                                  County
 Group, LP                                                       Case No.
 MSC#7557 Dept                                                   2019-CA-5083
 #CC002194
 PO Box 415000
 Nashville, TN
 37241-7557
 Winter Haven Citi                                                                                                                                                        $22,170.65
 Centre
 c/o Schmier&
 Feurring Properties,
 Inc.
 2200 Butts Rd, Suite
 #300
 Boca Raton, FL
 33431




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                   Case 8:19-bk-05842-MGW                                              Doc 1               Filed 06/20/19                        Page 10 of 53
 Fill in this information to identify the case:

 Debtor name            Fresh Alternatives, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           378,766.41

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           378,766.41


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,816,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           533,790.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,349,790.12




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                         Doc 1     Filed 06/20/19           Page 11 of 53
 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $5,500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Suntrust Bank                                           Checking                        8056                                    $97,795.76



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $103,295.76
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     City of Lakeland Utility Deposit - Lakeside Village                                                                              $4,000.00




           7.2.     City of Lakeland Utility Deposit - Downtown Lakeland                                                                             $2,500.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                             Doc 1      Filed 06/20/19           Page 12 of 53

 Debtor           Fresh Alternatives, LLC                                                          Case number (If known)
                  Name




           7.3.     City of Clermont Deposit - Water                                                                                        $100.00




           7.4.     Progress Energy Deposit - Electric                                                                                    $5,000.00




           7.5.     Tampa Electric Deposit - Brandon                                                                                      $4,200.00




           7.6.     Tampa Electric Deposit - Brandon                                                                                      $4,000.00




           7.7.     City of Winter Haven Deposit - Garbage                                                                                $2,200.00




           7.8.     Jax Electric Authority Deposit - Utilities                                                                            $9,761.80



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $31,761.80
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 49,617.39   -                                0.00 = ....           $49,617.39
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                    15,724.61   -                               0.00 =....             $15,724.61
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                          $65,342.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1     Filed 06/20/19        Page 13 of 53

 Debtor         Fresh Alternatives, LLC                                                          Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory: Food and
           paper supplies                             6/8/2019                           $73,143.22     Purchase Price                    $73,143.22




 23.       Total of Part 5.                                                                                                           $73,143.22
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
          7 Laptops, 5 LED/LCD display monitors,                     $34,298.33                                                           $34,298.33
          LexMark XM3150 copier/scanner, 4 mahogany
          cases, 19' LCD monitor, MS Surface Pro
          3/128G i5, Office365 migration, office desk,
Official Form 206A/B                         Schedule A/B Assets - Real and Personal Property                                                    page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                         Doc 1     Filed 06/20/19        Page 14 of 53

 Debtor         Fresh Alternatives, LLC                                                       Case number (If known)
                Name

           oven, POS server and terminal, POS terminal
           w/ warranty, projector, 3 scanners, security
           cage 25x42x18, 9 security cameras, server,
           server - Dell CTO PE R230 E3-123, shelf and
           post kit, shelving, signage, software - corp.
           backup, Microsoft software, 2 tablets, tools,
           turbo oven, 42' TV 720p, Valutec cutter and
           accessories, vent catalyst service kit.



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $34,298.33
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     (5) 2006 Scion XB's
                     VIN #'s : JTLKE50EX81018678,
                     JTLKE50E281026564,
                     JTLKE50E481044600,
                     JTLKE50E481026578,
                     JTLKE50E481034066                                                  $1,000.00                                        $1,000.00


           47.2.     2006 Ford Econoline
                     VIN #: 1FTNS24L96HA40054                                           $1,742.66                                        $1,742.66



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                          $2,742.66
           Add lines 47 through 50. Copy the total to line 87.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                         Doc 1     Filed 06/20/19        Page 15 of 53

 Debtor         Fresh Alternatives, LLC                                                       Case number (If known)
                Name

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark: Menu & Online Screen, Serial No.
            76/535565 / Registration No. 2857718                                       Unknown                                           Unknown


            Trademark: Sandwich Wrapper & Soup
            Container, Serial No. 77/042671, Registration
            No. 3382510                                                                Unknown                                           Unknown


            Trademark: Smoothie Glass, Serial No.
            77/386645, Registration No. 3495703                                        Unknown                                           Unknown


            Trademark: Milkshake Glass, Serial No.
            77/386630, Resistration No. 3575037                                        Unknown                                           Unknown



 61.        Internet domain names and websites
            www.crispers.com                                                           Unknown                                           Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Mailing list for its loyalty club (contains name,
            e-mail, phone number, date of birth)                                       Unknown                                           Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                  $68,182.64                                       $68,182.64




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                         Doc 1     Filed 06/20/19         Page 16 of 53

 Debtor         Fresh Alternatives, LLC                                                      Case number (If known)
                Name


 66.        Total of Part 10.                                                                                                      $68,182.64
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                                Case 8:19-bk-05842-MGW                                     Doc 1           Filed 06/20/19                Page 17 of 53

 Debtor          Fresh Alternatives, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $103,295.76

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $31,761.80

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $65,342.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $73,143.22

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $34,298.33

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,742.66

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $68,182.64

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $378,766.41           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $378,766.41




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                               Case 8:19-bk-05842-MGW                             Doc 1          Filed 06/20/19        Page 18 of 53
 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Banyan Equity                                  Describe debtor's property that is subject to a lien                 $750,000.00               $378,766.41
       Creditor's Name
       Investors II, Inc.
       1111 Brickell Ave
       Suite 1300
       Miami, FL 33131
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Banyan Mezzanine Fund II,
 2.2                                                                                                                     $4,000,000.00               $378,766.41
       LP                                             Describe debtor's property that is subject to a lien
       Creditor's Name                                UCC
       1111 Brickell Ave
       Suite 1300
       Miami, FL 33131
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                Case 8:19-bk-05842-MGW                            Doc 1          Filed 06/20/19          Page 19 of 53
 Debtor       Fresh Alternatives, LLC                                                                  Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    US Foods, Inc.                                Describe debtor's property that is subject to a lien                      $66,000.00         $378,766.41
        Creditor's Name

        7004 E. Hanna Ave
        Tampa, FL 33610
        Creditor's mailing address                    Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $4,816,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                                  Doc 1            Filed 06/20/19        Page 20 of 53
 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Florida Department of Revenue                             Check all that apply.
           P.O. Box 6668                                                Contingent
           Tallahassee, FL 32314-6668                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19114                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   40549                               Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                                  Doc 1            Filed 06/20/19           Page 21 of 53
 Debtor       Fresh Alternatives, LLC                                                                         Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       Unknown    Unknown
          Internal Revenue Service                                   Check all that apply.
          Attn: Special Procedures                                      Contingent
          P.O. Box 34045                                                Unliquidated
          Stop 572                                                      Disputed
          Jacksonville, FL 32202
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       Unknown    Unknown
          Office of Attorney General                                 Check all that apply.
          State of Florida                                              Contingent
          The Capitol PL-01                                             Unliquidated
          Tallahassee, FL 32399-1050                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       Unknown    Unknown
          SEC Headquarters                                           Check all that apply.
          100 F Street, NE                                              Contingent
          Washington, DC 20549                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       Unknown    Unknown
          Securities and Exchange                                    Check all that apply.
          Commission                                                    Contingent
          801 Brickell Ave., Suite 1800                                 Unliquidated
          Miami, FL 33131                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Information Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                                  Doc 1            Filed 06/20/19              Page 22 of 53
 Debtor       Fresh Alternatives, LLC                                                                         Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           United States Attorney General's                          Check all that apply.
           Office                                                       Contingent
           US Department of Justice                                     Unliquidated
           950 Pennsylvania Avenue                                      Disputed
           Washington, DC 20530-0001
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           US Attorney Southern District of                          Check all that apply.
           Florida                                                      Contingent
           500 South Australian Avenue                                  Unliquidated
           Suite 400                                                    Disputed
           West Palm Beach, FL 33401
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Information Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $7,361.46
           Annie D. Rye                                                                Contingent
           15820 Rye Lane                                                              Unliquidated
           Tampa, FL 33625                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $68,958.84
           Brixmor GA                                                                  Contingent
           Cobblestone Village                                                         Unliquidated
           at Royal Palm Beach, LLC                                                    Disputed
           305 State Rd 312
           Saint Augustine, FL 32086                                                              7th Judicial Circuit - St. Johns County
                                                                                   Basis for the claim:
                                                                                   Case No. CA 19-0547
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $16,662.67
           Casto-Oakbridge Venture, LTD                                                Contingent
           C/O Casto                                                                   Unliquidated
           P.O. Box 1450                                                               Disputed
           Cleveland, OH 43216
                                                                                   Basis for the claim:     Store #001
           Date(s) debt was incurred
           Last 4 digits of account number      3030                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1           Filed 06/20/19                Page 23 of 53
 Debtor       Fresh Alternatives, LLC                                                                 Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,721.48
          Casto-Oakbridge Venture, LTD                                          Contingent
          C/O Casto                                                             Unliquidated
          P.O. Box 1450                                                         Disputed
          Cleveland, OH 43216
                                                                             Basis for the claim:    Corp. Office
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,025.60
          Centro GA Cobblestone Village at St. Aug                              Contingent
          PO Box 713460                                                         Unliquidated
          Cincinnati, OH 45271-3460                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3657
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,455.90
          CH Retail Fund I/Tampa Brandon LLC                                    Contingent
          c/o Inwood National Bank                                              Unliquidated
          PO Box 852664                                                         Disputed
          Richardson, TX 75085
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Fresh Alternatives           Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $389.98
          City of Clermont                                                      Contingent
          685 W. Montrose Street                                                Unliquidated
          Clermont, FL 34711                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6694
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128.40
          Cloud Cover Media Inc.                                                Contingent
          999 N. Pacific Coast Hwy                                              Unliquidated
          Suite 500                                                             Disputed
          El Segundo, CA 90245
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Fresh Alternatives           Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $332.63
          Cozzini Brothers, Inc.                                                Contingent
          350 Howard Avenue                                                     Unliquidated
          Des Plaines, IL 60018                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3812
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,255.70
          DDRTC Market Place LLC                                                Contingent
          Dept. 107847 30394 20274                                              Unliquidated
          P.O. Box 534410                                                       Disputed
          Atlanta, GA 30353-4410
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       749                          Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1           Filed 06/20/19                Page 24 of 53
 Debtor       Fresh Alternatives, LLC                                                                 Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,077.97
          Downtown Discount Produce                                             Contingent
          7856 Ellis Road                                                       Unliquidated
          Melbourne, FL 32904                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account
          number SP01,SP02,SP05,SP11,SP18                                    Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Facility Concepts                                                     Contingent
          7676 Zionsville Road                                                  Unliquidated
          Indianapolis, IN 46268                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       land
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,676.59
          Frank Gay Plumbing, Inc.                                              Contingent
          6206 Forest City Road                                                 Unliquidated
          Orlando, FL 32810                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       79
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $887.03
          ISI Commercial Refrigeration, Inc.                                    Contingent
          P.O. Box 654020                                                       Unliquidated
          Dallas, TX 75265-4020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2712
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,031.46
          Jolito, Inc. dba SSI Services
          333 N. Falkenburg Rd                                                  Contingent
          Ste B223                                                              Unliquidated
          Tampa, FL 33619                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account
          number Crispers Corporate                                          Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,313.06
          KRG Northdale, LLC
          Attn Property Accountant                                              Contingent
          Northdale Promenade                                                   Unliquidated
          PO Box 743810                                                         Disputed
          Atlanta, GA 30374-3810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3648                         Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,628.02
          Lakeland Electric                                                     Contingent
          P.O. Box 32006                                                        Unliquidated
          Lakeland, FL 33802-2006                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2508
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1           Filed 06/20/19                Page 25 of 53
 Debtor       Fresh Alternatives, LLC                                                                 Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $475.00
          Leland E. Hicks                                                       Contingent
          9218 Metcalf Avenue                                                   Unliquidated
          #311                                                                  Disputed
          Overland Park, KS 66212
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       AMPA                         Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,295.22
          Lucas Clermont Limited PA                                             Contingent
          Nat'l Assn Account #4260602807                                        Unliquidated
          P.O. Box 1450                                                         Disputed
          Columbus, OH 43216
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       213                          Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $737.81
          Miller Safe & Lock, Inc.                                              Contingent
          630 N Gary Road                                                       Unliquidated
          Lakeland, FL 33801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       Crispers Retaurant
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $566.36
          National Exemption Service                                            Contingent
          P.O. BOX 9020                                                         Unliquidated
          Clearwater, FL 33758-9020                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8774
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,025.40
          National Janitorial Solutions, Inc.
          14000 Commerce Parkway                                                Contingent
          Suite C                                                               Unliquidated
          Mount Laurel, NJ 08054                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account
          number Crispers, LLC            Corporate                          Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.42
          Office Depot                                                          Contingent
          P.O. Box 633204                                                       Unliquidated
          Cincinnati, OH 45263-3204                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       789
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,337.74
          Pepsi - Cola                                                          Contingent
          Lockbox # 841828                                                      Unliquidated
          Dallas, TX 75284-1828                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account
          number 9037,9597,8992,8994,8993,9047                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1           Filed 06/20/19                Page 26 of 53
 Debtor       Fresh Alternatives, LLC                                                                 Case number (if known)
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216.00
          Protected Trust, LLC                                                  Contingent
          P O Box 111                                                           Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       Fresh Alternatives           Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,076.17
          Retail Equities LLC                                                   Contingent
          1 Sleiman Parkway                                                     Unliquidated
          Suite 250                                                             Disputed
          Jacksonville, FL 32216
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7010                         Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $763.17
          Royal Cup                                                             Contingent
          PO BOX 841000                                                         Unliquidated
          Dallas, TX 75284-1000                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4151
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,171.87
          SUSO 4 North Branch LP                                                Contingent
          Keybank Lockbox Operations                                            Unliquidated
          PO Box 74773                                                          Disputed
          Cleveland, OH 44194-4773
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Fresh Alternatives           Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $284.15
          The Garden Wholesale                                                  Contingent
          5400 Longleaf Street                                                  Unliquidated
          Jacksonville, FL 32209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       Crispers
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,797.86
          University Park - Phase I Associates                                  Contingent
          P.O. Box 5148                                                         Unliquidated
          Winter Park, FL 32793-5148                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       Fresh Alternatives
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,550.36
          Walton Signage, Ltd.
          c/o Pulman Cappuccio                                                  Contingent
          & Pullen, LLP                                                         Unliquidated
          2161 NW Military Hwy, # 400                                           Disputed
          San Antonio, TX 78213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1           Filed 06/20/19                 Page 27 of 53
 Debtor       Fresh Alternatives, LLC                                                                 Case number (if known)
              Name

 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $379.00
           Waste Connections of Florida                                         Contingent
           PO Box 742695                                                        Unliquidated
           Cincinnati, OH 45274-2695                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      3189,5069
                                                                             Is the claim subject to offset?         No    Yes

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $393.50
           Waste Pro USA - Jacksonville                                         Contingent
           PO Box 865200                                                        Unliquidated
           Orlando, FL 32886-5200                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      7090
                                                                             Is the claim subject to offset?         No    Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $7.49
           Water Boy Inc                                                        Contingent
           4454 19th Street Ct E                                                Unliquidated
           Bradenton, FL 34203-3775                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      4503
                                                                             Is the claim subject to offset?         No    Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $69,590.16
           Waterford Lakes Town Center, LLC                                     Contingent
           Simon Property Group, LP                                             Unliquidated
           MSC#7557 Dept #CC002194                                              Disputed
           PO Box 415000
           Nashville, TN 37241-7557                                                         9th Judicial Circuit - Orange County
                                                                             Basis for the claim:
                                                                             Case No. 2019-CA-5083
           Date(s) debt was incurred
           Last 4 digits of account number      Fresh Alternatives           Is the claim subject to offset?         No    Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $22,170.65
           Winter Haven Citi Centre                                             Contingent
           c/o Schmier& Feurring Properties, Inc.                               Unliquidated
           2200 Butts Rd, Suite #300                                            Disputed
           Boca Raton, FL 33431
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      Fresh Alternatives           Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Brixmor GA Cobblestone Village
           at Royal Palm Beach, LLC                                                                   Line     3.2
           c/o Shumaker Look & Kendrick, LLP
                                                                                                             Not listed. Explain
           100 E. Kennedy Blvd
           Tampa, FL 33602

 4.2       Simon Property Group, LP
           MSC#7557 DEPT#CC002194                                                                     Line     3.35
           PO Box 41500
                                                                                                             Not listed. Explain
           Nashville, TN 37241-7557


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                           Doc 1       Filed 06/20/19                 Page 28 of 53
 Debtor       Fresh Alternatives, LLC                                                             Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Walton Signage, Ltd.
           d/b/a Walton Signage                                                                  Line     3.31
           10101 Reunion Place, #500
                                                                                                        Not listed. Explain
           San Antonio, TX 78216

 4.4       Waterford Lakes Town Center, LLC
           c/o David L. Gold, Esq.                                                               Line     3.35
           Goldberg Segalla, LLP
                                                                                                        Not listed. Explain
           777 Brickell Ave, Ste 1370
           Miami, FL 33131


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                    533,790.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      533,790.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                     Doc 1      Filed 06/20/19             Page 29 of 53
 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Annie D. Rye
             List the contract number of any                                        15820 Rye Lane
                   government contract                                              Tampa, FL 33625


 2.2.        State what the contract or                   Restaurant Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Casto-Oakbridge Venture, LTD
                                                                                    C/O Casto
             List the contract number of any                                        P.O. Box 1450
                   government contract                                              Cleveland, OH 43216


 2.3.        State what the contract or                   Office Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Casto-Oakbridge Venture, LTD
                                                                                    C/O Casto
             List the contract number of any                                        P.O. Box 1450
                   government contract                                              Cleveland, OH 43216


 2.4.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          CH Retail Fund I/Tampa Brandon LLC
                                                                                    c/o Inwood National Bank
             List the contract number of any                                        PO Box 852664
                   government contract                                              Richardson, TX 75085




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                             Doc 1   Filed 06/20/19          Page 30 of 53
 Debtor 1 Fresh Alternatives, LLC                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Lucas Clermont Limited PA
                                                                                         Nat'l Assn Account #4260602807
             List the contract number of any                                             P.O. Box 1450
                   government contract                                                   Columbus, OH 43216


 2.6.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Retail Equities LLC
                                                                                         1 Sleiman Parkway
             List the contract number of any                                             Suite 250
                   government contract                                                   Jacksonville, FL 32216


 2.7.        State what the contract or                   Phone, internet and
             lease is for and the nature of               network support.
             the debtor's interest

                  State the term remaining
                                                                                         Windstream Corporation
             List the contract number of any                                             4001 N Rodney Parham Rd
                   government contract                                                   Little Rock, AR 72212


 2.8.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Winter Haven Citi Centre
                                                                                         c/o Schmier& Feurring Properties, Inc.
             List the contract number of any                                             2200 Butts Rd, Suite #300
                   government contract                                                   Boca Raton, FL 33431




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                         Doc 1    Filed 06/20/19       Page 31 of 53
 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1        Filed 06/20/19             Page 32 of 53



 Fill in this information to identify the case:

 Debtor name         Fresh Alternatives, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                      $4,361,913.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                    $15,361,589.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                    $20,069,697.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                   Utility Deposit - Interest
       From 1/01/2019 to Filing Date                                                           Income                                               $593.00


       For prior year:                                                                         Utility Deposit - Interest
       From 1/01/2018 to 12/31/2018                                                            Income                                             $3,042.00


       For year before that:                                                                   Utility Deposit - Interest
       From 1/01/2017 to 12/31/2017                                                            Income                                             $3,374.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                              Doc 1      Filed 06/20/19             Page 33 of 53
 Debtor       Fresh Alternatives, LLC                                                                   Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached Exhibit "A"                                                                                               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Brixmor GA Cobblestone                            Civil                      7th Judicial Circuit - Duval                   Pending
               Village at Royal Palm Beach,                                                 County                                         On appeal
               LLC v. Fresh Alternatives,                                                   101 N. Alabama Ave
                                                                                                                                           Concluded
               LLC                                                                          Deland, FL 32724
               CA19-0547



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                              Doc 1         Filed 06/20/19             Page 34 of 53
 Debtor        Fresh Alternatives, LLC                                                                      Case number (if known)



                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address
       7.2.     Waterford Lakes Town                             Civil                        9th Circuit Court - Orange                  Pending
                Center, LLC v. Fresh                                                          County                                      On appeal
                Alternatives, LLC                                                             425 N. Orange Ave
                                                                                                                                          Concluded
                2019-CA-5083                                                                  Orlando, FL 32801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Shraiberg Landau & Page PA
                 2385 NW Executive Center Dr
                 Suite 300                                                                                                     5/31/2019;
                 Boca Raton, FL 33431                                Attorney Fees                                             6/19/2019                    $49,500.00

                 Email or website address
                 bss@slp.law

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                             Doc 1       Filed 06/20/19             Page 35 of 53
 Debtor      Fresh Alternatives, LLC                                                                     Case number (if known)



    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Name and email
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401(k) - non matching (discontinued for minimal participation)                             EIN:

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1        Filed 06/20/19             Page 36 of 53
 Debtor      Fresh Alternatives, LLC                                                                    Case number (if known)




                    Has the plan been terminated?
                      No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1        Filed 06/20/19              Page 37 of 53
 Debtor      Fresh Alternatives, LLC                                                                    Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Crispers, LLC                                    None - disregarded entity                        EIN:         XX-XXXXXXX
             1476 Town Center Drive,
             Suite 219                                                                                         From-To      6/24/2002 - Present
             Lakeland, FL 33803


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Calvin Sellers                                                                                                             7/8/2011 - 1/13/2017


       26a.2.       Maria Cosimo                                                                                                               7/11/2011 - 5/31/2019


       26a.3.       Samantha Cruz                                                                                                              7/7/2008 - 4/27/2019


       26a.4.       Rebecca Anne Ross                                                                                                          8/21/2017 - 1/26/2019


       26a.5.       Todd Michell                                                                                                               1/28/2019 - Present




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1        Filed 06/20/19             Page 38 of 53
 Debtor      Fresh Alternatives, LLC                                                                    Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.6.       Sally Hampton                                                                                                        11/6/2018 - Present



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Winter Park Town Center
                    510 Orlando Ave
                    Winter Park, FL 32789
       26d.2.       US Foods
                    7004 E. Hanna Ave
                    Tampa, FL 33610

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Phil Birkhold                                  1476 Town Center Drive, Suite 219                   Chief Operating Officer
                                                      Lakeland, FL 33803



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       William Radebaugh                              1476 Town Center Drive, Suite 219                   Chief Executive Officer           11/18/2016 -
                                                      Lakeland, FL 33803                                                                    2/15/2019


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                            Doc 1        Filed 06/20/19             Page 39 of 53
 Debtor      Fresh Alternatives, LLC                                                                    Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Michalis Stavrinides                           1111 Brickell Ave, Suite 1300                       Manager                          Through 6/19/2019
                                                      Miami, FL 33131


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 20, 2019

 /s/ Phil Birkhold                                                      Phil Birkhold
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Operating Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
             Case 8:19-bk-05842-MGW              Doc 1      Filed 06/20/19   Page 40 of 53


Check #   Check Date   Payee                                Check Amount     SOFA, #3 - EXHIBIT A
20718      03/21/19    Accountemps                               $6,030.37
20746      03/28/19    Accountemps                               $6,199.92
20787      04/11/19    Accountemps                               $3,149.51
20819      04/18/19    Accountemps                               $2,957.45
20839      04/25/19    Accountemps                               $2,140.74
20865      05/02/19    Accountemps                               $3,198.20
20881      05/09/19    Accountemps                               $2,520.00
20972      05/16/19    Accountemps                               $2,520.00
21005      05/23/19    Accountemps                               $4,536.63
21038      05/31/19    Accountemps                               $5,040.95
21056      06/06/19    Accountemps                               $2,464.56
                       Accountemps Total                        $40,758.33
20719     03/21/19     Acentria Insurance                        $3,563.44
20784     04/08/19     Acentria Insurance                        $3,563.44
21006     05/23/19     Acentria Insurance                        $3,563.44
                       Acentria Insurance Total                 $10,690.32
20762     04/04/19     American Water Services Inc.                $197.53
20820     04/18/19     American Water Services Inc.                $246.31
                       American Water Services Inc. Total          $443.84
20756     04/01/19     Annie D. Rye                              $7,361.46
20855     05/01/19     Annie D. Rye                              $7,361.46
                       Annie D. Rye Total                       $14,722.92
20763     04/04/19     Avalara                                     $240.00
20840     04/25/19     Avalara                                      $18.00
                       Avalara Total                               $258.00
20788     04/11/19     Bellcurve Technology                      $1,307.49
20882     05/09/19     Bellcurve Technology                        $571.13
21083     06/06/19     Bellcurve Technology                        $771.56
                       Bellcurve Technology Total                $2,650.18
20747     03/28/19     Blue Cross and Blue Shield o             $25,614.21
20866     05/02/19     Blue Cross and Blue Shield o              $8,598.89
21007     05/23/19     Blue Cross and Blue Shield o              $7,327.79
21084     06/10/19     Blue Cross and Blue Shield o             $17,010.21
                       Blue Cross and Blue Shield o Total       $58,551.10
20720     03/21/19     Bob Mckee Tax Collector                   $4,162.65
                       Bob Mckee Tax Collector Total             $4,162.65
20789     04/11/19     Boring Business Systems                      $85.45
20841     04/25/19     Boring Business Systems                      $85.45
21057     06/06/19     Boring Business Systems                     $170.90
                       Boring Business Systems Total               $341.80
20721     03/21/19     Bridgefield Employers Ins. C              $1,696.69
                       Bridgefield Employers Ins. C Total        $1,696.69
20764     04/04/19     Bright House Networks                       $119.22
20821     04/18/19     Bright House Networks                       $261.35
20867     05/02/19     Bright House Networks                        $11.69
21058     06/06/19     Bright House Networks                       $119.22
                       Bright House Networks Total                 $511.48
20790     04/11/19     Card and Form Solutions                     $471.87
20822     04/18/19     Card and Form Solutions                     $131.90
20973     05/16/19     Card and Form Solutions                     $131.90
                       Card and Form Solutions Total               $735.67
          Case 8:19-bk-05842-MGW            Doc 1       Filed 06/20/19   Page 41 of 53


20748   03/28/19   Casto‐Oakbridge Venture, LTD              $617.10
20755   04/01/19   Casto‐Oakbridge Venture, LTD            $21,384.15
20823   04/18/19   Casto‐Oakbridge Venture, LTD              $368.81
20854   05/01/19   Casto‐Oakbridge Venture, LTD            $21,384.15
20974   05/16/19   Casto‐Oakbridge Venture, LTD               $322.06
21059   06/06/19   Casto‐Oakbridge Venture, LTD               $381.31
                   Casto‐Oakbridge Venture, LTD Total      $44,457.58
21039   05/31/19   CBIZ, Inc.                              $15,300.00
                   CBIZ, Inc. Total                        $15,300.00
20759   04/01/19   CH Retail Fund I/Tampa Brand            $16,455.90
20858   05/01/19   CH Retail Fund I/Tampa Brand            $16,455.90
                   CH Retail Fund I/Tampa Brand Total      $32,911.80
20722   03/21/19   Cintas Corporation                         $118.28
20765   04/04/19   Cintas Corporation                       $2,355.28
20791   04/11/19   Cintas Corporation                         $940.86
20842   04/25/19   Cintas Corporation                       $2,228.78
20883   05/09/19   Cintas Corporation                          $40.04
20975   05/16/19   Cintas Corporation                       $2,123.31
21060   06/06/19   Cintas Corporation                       $1,874.88
                   Cintas Corporation Total                 $9,681.43
20884   05/09/19   City of Clermont                          $326.23
                   City of Clermont Total                     $326.23
20749   03/28/19   City of Winter Haven                       $751.75
20885   05/09/19   City of Winter Haven                       $826.92
20976   05/16/19   City of Winter Haven                       $751.75
                   City of Winter Haven Total               $2,330.42
20836   04/18/19   Cloud Cover Media Inc.                     $149.82
20886   05/09/19   Cloud Cover Media Inc.                      $85.62
20977   05/16/19   Cloud Cover Media Inc.                     $117.40
                   Cloud Cover Media Inc. Total               $352.84
20750   03/28/19   Colonial Life                              $724.82
20868   05/02/19   Colonial Life                              $362.64
21085   06/10/19   Colonial Life                              $362.64
                   Colonial Life Total                      $1,450.10
20723   03/21/19   Cozzini Brothers, Inc.                    $128.40
20766   04/04/19   Cozzini Brothers, Inc.                    $449.40
20792   04/11/19   Cozzini Brothers, Inc.                    $257.40
20887   05/09/19   Cozzini Brothers, Inc.                    $386.40
20978   05/16/19   Cozzini Brothers, Inc.                    $192.30
21008   05/23/19   Cozzini Brothers, Inc.                    $456.11
21040   05/31/19   Cozzini Brothers, Inc.                    $266.29
21061   06/06/19   Cozzini Brothers, Inc.                      $66.34
                   Cozzini Brothers, Inc. Total             $2,202.64
20824   04/18/19   CSX Transportation, Inc.                 $3,732.23
                   CSX Transportation, Inc. Total           $3,732.23
20825   04/18/19   Darling International, Inc.              $1,803.88
20979   05/16/19   Darling International, Inc.              $1,979.39
21009   05/23/19   Darling International, Inc.              $2,275.38
21062   06/06/19   Darling International, Inc.                $783.89
                   Darling International, Inc. Total        $6,842.54
20724   03/21/19   Dennis W. Hollingsworth                  $1,280.95
                   Dennis W. Hollingsworth Total            $1,280.95
          Case 8:19-bk-05842-MGW           Doc 1    Filed 06/20/19   Page 42 of 53


20826   04/18/19   DEPARTMENT OF FINANCIAL SERV          $4,408.76
                   DEPARTMENT OF FINANCIAL SERV Tot      $4,408.76
20751   03/28/19   Division Of Hotels & Restaur            $294.00
20869   05/02/19   Division Of Hotels & Restaur            $294.00
                   Division Of Hotels & Restaur Total      $588.00
20725   03/21/19   Doris Maloy, Tax Collector            $2,647.29
                   Doris Maloy, Tax Collector Total      $2,647.29
20726   03/21/19   Doug Belden, Tax Collector            $4,063.10
                   Doug Belden, Tax Collector Total      $4,063.10
20727   03/21/19   Downtown Discount Produce             $3,472.67
20767   04/04/19   Downtown Discount Produce            $13,487.26
20793   04/11/19   Downtown Discount Produce             $6,386.53
20837   04/18/19   Downtown Discount Produce             $6,229.75
20843   04/25/19   Downtown Discount Produce             $7,024.09
20870   05/02/19   Downtown Discount Produce             $5,965.82
20880   05/09/19   Downtown Discount Produce             $6,142.73
20980   05/16/19   Downtown Discount Produce             $2,449.09
21003   05/23/19   Downtown Discount Produce             $7,337.02
21041   05/31/19   Downtown Discount Produce             $5,081.79
21053   06/06/19   Downtown Discount Produce             $9,189.85
                   Downtown Discount Produce Total      $72,766.60
20794   04/11/19   Duke Energy                           $2,982.26
20981   05/16/19   Duke Energy                           $3,186.22
21063   06/06/19   Duke Energy                           $3,184.63
                   Duke Energy Total                     $9,353.11
20728   03/21/19   Duval County Tax Collector            $1,086.94
                   Duval County Tax Collector Total      $1,086.94
20752   03/28/19   Florida Department of Revenu          $1,427.12
                   Florida Department of Revenu Total    $1,427.12
20795   04/11/19   Frank Gay Plumbing, Inc.               $376.96
20982   05/16/19   Frank Gay Plumbing, Inc.               $763.83
21064   06/06/19   Frank Gay Plumbing, Inc.              $3,779.38
                   Frank Gay Plumbing, Inc. Total        $4,920.17
20729   03/21/19   George Albright                       $1,368.57
                   George Albright Total                 $1,368.57
20796   04/11/19   Greater Winter Haven Chamber           $165.00
                   Greater Winter Haven Chamber Total      $165.00
21065   06/06/19   HIREtech                                $455.13
                   HIREtech Total                          $455.13
20768   04/04/19   ISI Commercial Refrigeration            $772.50
                   ISI Commercial Refrigeration Total      $772.50
20797   04/11/19   Jacksonville Electric Author          $2,801.86
20871   05/02/19   Jacksonville Electric Author          $2,741.02
21042   05/31/19   Jacksonville Electric Author          $2,998.23
                   Jacksonville Electric Author Total    $8,541.11
20730   03/21/19   Joe G. Tedder, Tax Collector          $6,568.35
                   Joe G. Tedder, Tax Collector Total    $6,568.35
20731   03/21/19   Joel Greenberg, Tax Collecto          $2,202.25
                   Joel Greenberg, Tax Collecto Total    $2,202.25
20732   03/21/19   Jolito, Inc. dba SSI Service            $179.20
20769   04/04/19   Jolito, Inc. dba SSI Service          $1,158.75
20798   04/11/19   Jolito, Inc. dba SSI Service          $1,311.82
          Case 8:19-bk-05842-MGW             Doc 1      Filed 06/20/19   Page 43 of 53


20827   04/18/19   Jolito, Inc. dba SSI Service               $495.00
20844   04/25/19   Jolito, Inc. dba SSI Service             $1,834.07
20888   05/09/19   Jolito, Inc. dba SSI Service             $1,311.01
20983   05/16/19   Jolito, Inc. dba SSI Service             $1,387.90
21010   05/23/19   Jolito, Inc. dba SSI Service             $3,364.54
21043   05/31/19   Jolito, Inc. dba SSI Service             $1,288.36
21066   06/06/19   Jolito, Inc. dba SSI Service             $1,544.15
                   Jolito, Inc. dba SSI Service Total      $13,874.80
20872   05/02/19   Kopis, LLC                               $4,336.70
                   Kopis, LLC Total                         $4,336.70
20733   03/21/19   Lakeland Electric                        $3,888.59
20770   04/04/19   Lakeland Electric                        $4,113.98
20828   04/18/19   Lakeland Electric                        $3,374.61
20889   05/09/19   Lakeland Electric                        $4,071.11
20984   05/16/19   Lakeland Electric                        $3,704.81
21067   06/06/19   Lakeland Electric                        $4,043.51
                   Lakeland Electric Total                 $23,196.61
20799   04/11/19   Lawns N Order, Inc.                       $115.00
20985   05/16/19   Lawns N Order, Inc.                       $115.00
21044   05/31/19   Lawns N Order, Inc.                       $230.00
21068   06/06/19   Lawns N Order, Inc.                       $115.00
                   Lawns N Order, Inc. Total                 $575.00
20734   03/21/19   Lee County Tax Collector                 $1,434.05
                   Lee County Tax Collector Total           $1,434.05
20735   03/21/19   Lee County Utilities                      $370.52
20829   04/18/19   Lee County Utilities                      $343.16
20986   05/16/19   Lee County Utilities                      $169.88
21069   06/06/19   Lee County Utilities                        $70.47
                   Lee County Utilities Total                $954.03
20757   04/01/19   Lucas Clermont Limited PA                $8,655.02
20845   04/25/19   Lucas Clermont Limited PA                $1,177.14
20856   05/01/19   Lucas Clermont Limited PA                $8,655.02
20987   05/16/19   Lucas Clermont Limited PA                 $640.20
                   Lucas Clermont Limited PA Total         $19,127.38
20988   05/16/19   M & R Air Conditioning and R              $575.00
21070   06/06/19   M & R Air Conditioning and R              $278.30
                   M & R Air Conditioning and R Total        $853.30
20771   04/04/19   Massey Services, Inc.                     $650.36
20800   04/11/19   Massey Services, Inc.                     $650.36
21045   05/31/19   Massey Services, Inc.                     $192.60
21071   06/06/19   Massey Services, Inc.                     $192.60
                   Massey Services, Inc. Total              $1,685.92
20801   04/11/19   Merit Electric Co Inc.                    $269.87
20989   05/16/19   Merit Electric Co Inc.                    $195.12
21072   06/06/19   Merit Electric Co Inc.                    $809.12
                   Merit Electric Co Inc. Total             $1,274.11
20990   05/16/19   Miller Safe & Lock, Inc.                    $51.36
                   Miller Safe & Lock, Inc. Total              $51.36
20802   04/11/19   National Exemption Service                 $947.80
20873   05/02/19   National Exemption Service                 $501.08
                   National Exemption Service Total         $1,448.88
20803   04/11/19   Office Depot                              $282.22
          Case 8:19-bk-05842-MGW           Doc 1        Filed 06/20/19   Page 44 of 53


21011   05/23/19   Office Depot                              $290.24
                   Office Depot Total                        $572.46
20736   03/21/19   Old Dominion Insurance Compa             $7,035.85
20785   04/08/19   Old Dominion Insurance Compa             $7,035.85
20786   04/08/19   Old Dominion Insurance Compa             $2,434.23
20874   05/02/19   Old Dominion Insurance Compa             $2,434.23
21002   05/21/19   Old Dominion Insurance Compa             $2,295.82
21046   05/31/19   Old Dominion Insurance Compa             $4,730.05
                   Old Dominion Insurance Compa Total      $25,966.03
20804   04/11/19   Onguard                                    $932.46
20991   05/16/19   Onguard                                    $845.89
21073   06/06/19   Onguard                                    $684.67
                   Onguard Total                            $2,463.02
20737   03/21/19   Orange County Tax Collector              $1,932.74
                   Orange County Tax Collector Total        $1,932.74
20890   05/09/19   Partech, Inc.                            $1,437.86
                   Partech, Inc. Total                      $1,437.86
20992   05/16/19   Penske Truck Leasing Co., L.              $254.26
                   Penske Truck Leasing Co., L. Total        $254.26
20772   04/04/19   Pepsi ‐ Cola                             $5,941.87
20805   04/11/19   Pepsi ‐ Cola                             $2,112.80
20830   04/18/19   Pepsi ‐ Cola                             $2,067.02
20846   04/25/19   Pepsi ‐ Cola                             $6,173.47
20875   05/02/19   Pepsi ‐ Cola                             $2,594.51
20891   05/09/19   Pepsi ‐ Cola                             $1,716.90
20993   05/16/19   Pepsi ‐ Cola                             $2,450.82
21012   05/23/19   Pepsi ‐ Cola                             $3,084.11
21047   05/31/19   Pepsi ‐ Cola                             $1,190.35
21074   06/06/19   Pepsi ‐ Cola                             $3,731.63
                   Pepsi ‐ Cola Total                      $31,063.48
20806   04/11/19   Pitney Bowes Global Financia              $121.36
20847   04/25/19   Pitney Bowes Global Financia              $115.56
                   Pitney Bowes Global Financia Total        $236.92
20831   04/18/19   Protected Trust, LLC                      $622.37
20892   05/09/19   Protected Trust, LLC                      $622.37
21013   05/23/19   Protected Trust, LLC                      $279.00
                   Protected Trust, LLC Total               $1,523.74
20876   05/02/19   Punchh, Inc.                             $3,150.00
                   Punchh, Inc. Total                       $3,150.00
20893   05/09/19   Republic Services, Inc.                  $1,111.44
                   Republic Services, Inc. Total            $1,111.44
20773   04/04/19   Restaurant Magic Software                $2,495.00
20860   05/02/19   Restaurant Magic Software                 $750.00
21048   05/31/19   Restaurant Magic Software                 $750.00
                   Restaurant Magic Software Total          $3,995.00
20760   04/01/19   Retail Equities LLC                      $4,076.17
20859   05/01/19   Retail Equities LLC                      $6,267.63
                   Retail Equities LLC Total               $10,343.80
20774   04/04/19   Royal Cup                                $1,902.70
20807   04/11/19   Royal Cup                                $1,086.22
20832   04/18/19   Royal Cup                                 $215.28
20848   04/25/19   Royal Cup                                $1,598.32
          Case 8:19-bk-05842-MGW            Doc 1       Filed 06/20/19   Page 45 of 53


20894   05/09/19   Royal Cup                                 $722.02
21014   05/23/19   Royal Cup                                $1,130.22
21049   05/31/19   Royal Cup                                 $449.94
21075   06/06/19   Royal Cup                                 $322.92
                   Royal Cup Total                          $7,427.62
20994   05/16/19   Shirley Hall                                $80.00
                   Shirley Hall Total                          $80.00
21037   05/31/19   Shraiberg,Landau & Page P.A.             $7,500.00
                   Shraiberg,Landau & Page P.A. Total       $7,500.00
20808   04/11/19   Shred Quick, Inc.                           $52.23
20895   05/09/19   Shred Quick, Inc.                          $104.46
21076   06/06/19   Shred Quick, Inc.                           $52.23
                   Shred Quick, Inc. Total                    $208.92
20877   05/02/19   Sign‐A‐Rama, Inc.                          $113.40
20896   05/09/19   Sign‐A‐Rama, Inc.                          $686.93
20995   05/16/19   Sign‐A‐Rama, Inc.                          $158.34
21015   05/23/19   Sign‐A‐Rama, Inc.                          $554.23
21050   05/31/19   Sign‐A‐Rama, Inc.                           $86.67
21077   06/06/19   Sign‐A‐Rama, Inc.                          $200.63
                   Sign‐A‐Rama, Inc. Total                  $1,800.20
20809   04/11/19   Sun Life Financial                       $1,400.84
20897   05/09/19   Sun Life Financial                       $1,236.28
                   Sun Life Financial Total                 $2,637.12
20853   04/26/19   SWF Air, Inc.                              $550.00
20907   05/09/19   SWF Air, Inc.                              $550.00
20996   05/16/19   SWF Air, Inc.                              $543.50
                   SWF Air, Inc. Total                      $1,643.50
20738   03/21/19   Tampa Electric                           $4,369.04
20810   04/11/19   Tampa Electric                           $2,658.26
20878   05/02/19   Tampa Electric                           $2,852.82
20898   05/09/19   Tampa Electric                           $3,299.18
21051   05/31/19   Tampa Electric                           $2,748.64
21078   06/06/19   Tampa Electric                           $2,843.54
                   Tampa Electric Total                    $18,771.48
20739   03/21/19   The Garden Wholesale                       $649.40
20775   04/04/19   The Garden Wholesale                     $2,068.23
20811   04/11/19   The Garden Wholesale                       $616.02
20833   04/18/19   The Garden Wholesale                       $743.42
20849   04/25/19   The Garden Wholesale                       $718.25
20879   05/02/19   The Garden Wholesale                       $672.49
20899   05/09/19   The Garden Wholesale                     $1,156.43
20997   05/16/19   The Garden Wholesale                       $634.92
21016   05/23/19   The Garden Wholesale                       $220.67
21052   05/31/19   The Garden Wholesale                     $1,190.42
21079   06/06/19   The Garden Wholesale                       $567.94
                   The Garden Wholesale Total               $9,238.19
20812   04/11/19   The Icee Company                           $181.94
                   The Icee Company Total                     $181.94
20776   04/04/19   The Wasserstrom Company                    $289.81
20850   04/25/19   The Wasserstrom Company                     $35.85
20861   05/02/19   The Wasserstrom Company                    $724.78
20998   05/16/19   The Wasserstrom Company                    $249.35
          Case 8:19-bk-05842-MGW            Doc 1       Filed 06/20/19   Page 46 of 53


                   The Wasserstrom Company Total            $1,299.79
20753   03/28/19   UPS                                        $390.79
20777   04/04/19   UPS                                      $1,041.44
20818   04/12/19   UPS                                      $1,300.89
20851   04/25/19   UPS                                        $274.81
20900   05/09/19   UPS                                        $152.00
20999   05/16/19   UPS                                        $194.90
21017   05/23/19   UPS                                        $148.63
21080   06/06/19   UPS                                        $145.26
                   UPS Total                                $3,648.72
20740   03/21/19   US Foodservice                          $52,083.57
20754   03/28/19   US Foodservice                          $50,150.43
20778   04/04/19   US Foodservice                          $52,020.68
20813   04/11/19   US Foodservice                          $50,091.68
20838   04/18/19   US Foodservice                          $51,440.11
20852   04/25/19   US Foodservice                          $51,503.69
20862   05/02/19   US Foodservice                          $51,807.77
20906   05/09/19   US Foodservice                          $49,007.71
21000   05/16/19   US Foodservice                          $51,108.69
21004   05/23/19   US Foodservice                          $47,918.76
21021   05/30/19   US Foodservice                          $35,661.04
21054   06/06/19   US Foodservice                          $34,333.70
                   US Foodservice Total                   $577,127.83
20901   05/09/19   Valutec Card Solutions, LLC               $556.50
                   Valutec Card Solutions, LLC Total          $556.50
20741   03/21/19   Waste Connections of Florida             $1,430.45
20779   04/04/19   Waste Connections of Florida             $1,003.23
20834   04/18/19   Waste Connections of Florida              $379.45
20902   05/09/19   Waste Connections of Florida              $980.04
                   Waste Connections of Florida Total       $3,793.17
20742   03/21/19   Waste Management of Tampa                 $662.27
20814   04/11/19   Waste Management of Tampa                 $688.16
20903   05/09/19   Waste Management of Tampa                 $688.16
                   Waste Management of Tampa Total          $2,038.59
20743   03/21/19   Waste Pro of Florida INC                   $754.84
20780   04/04/19   Waste Pro of Florida INC                   $426.80
                   Waste Pro of Florida INC Total           $1,181.64
20744   03/21/19   Waste Pro USA ‐ Jacksonville              $382.02
20835   04/18/19   Waste Pro USA ‐ Jacksonville              $385.63
                   Waste Pro USA ‐ Jacksonville Total         $767.65
20815   04/11/19   Water Boy Inc                                $7.49
20904   05/09/19   Water Boy Inc                                $7.49
21018   05/23/19   Water Boy Inc                                $7.49
21081   06/06/19   Water Boy Inc                               $14.98
                   Water Boy Inc Total                         $37.45
20745   03/21/19   Wiginton Fire Systems                      $243.50
20816   04/11/19   Wiginton Fire Systems                      $174.60
20905   05/09/19   Wiginton Fire Systems                      $552.20
21001   05/16/19   Wiginton Fire Systems                      $379.85
21019   05/23/19   Wiginton Fire Systems                      $206.70
21082   06/06/19   Wiginton Fire Systems                       $22.00
                   Wiginton Fire Systems Total              $1,578.85
          Case 8:19-bk-05842-MGW             Doc 1   Filed 06/20/19   Page 47 of 53


20817   04/11/19   Windstream Corporation                $8,855.09
20863   05/02/19   Windstream Corporation                $8,452.58
21055   06/06/19   Windstream Corporation                $4,943.59
                   Windstream Corporation Total         $22,251.26
20758   04/01/19   Winter Haven Citi Centre             $10,885.84
20857   05/01/19   Winter Haven Citi Centre             $11,174.89
                   Winter Haven Citi Centre Total       $22,060.73
20761   04/02/19   Winter Park Town Center              $17,293.85
20781   04/04/19   Winter Park Town Center                 $332.98
20864   05/02/19   Winter Park Town Center                 $369.12
21020   05/23/19   Winter Park Town Center                 $329.52
                   Winter Park Town Center Total        $18,325.47
21086   06/10/19   Sun Life Financial                    $1,772.87
                   Sun Life Financial Total              $1,772.87
                              Case 8:19-bk-05842-MGW                          Doc 1        Filed 06/20/19              Page 48 of 53

                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Fresh Alternatives, LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Banyan Equity                                                                                                                   25.8%
 Investors II, Inc.
 1111 Brickell Ave
 Suite 1300
 Miami, FL 33131

 Banyan Mezzanine Fund II, LP                                                                                                    74.2%
 1111 Brickell Ave
 Suite 1300
 Miami, FL 33131


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Operating Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date June 20, 2019                                                          Signature /s/ Phil Birkhold
                                                                                            Phil Birkhold

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                        Doc 1      Filed 06/20/19         Page 49 of 53




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Fresh Alternatives, LLC                                                                       Case No.
                                                                                 Debtor(s)                Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Operating Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       June 20, 2019                                            /s/ Phil Birkhold
                                                                      Phil Birkhold/Chief Operating Officer
                                                                      Signer/Title




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
                     Case 8:19-bk-05842-MGW      Doc 1     Filed 06/20/19   Page 50 of 53


    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




Fresh Alternatives, LLC                CH Retail Fund I/Tampa Brandon LLC     Internal Revenue Service
1476 Town Center Drive, Suite 219      c/o Inwood National Bank               P.O. Box 7346
Lakeland, FL 33803                     PO Box 852664                          Philadelphia, PA 19114
                                       Richardson, TX 75085



Bradley S. Shraiberg                   City of Clermont                       Internal Revenue Service
Shraiberg Landau & Page PA             685 W. Montrose Street                 Attn: Special Procedures
2385 NW Executive Center Dr            Clermont, FL 34711                     P.O. Box 34045
Suite 300                                                                     Stop 572
Boca Raton, FL 33431                                                          Jacksonville, FL 32202

Annie D. Rye                           Cloud Cover Media Inc.                 ISI Commercial Refrigeration, Inc.
15820 Rye Lane                         999 N. Pacific Coast Hwy               P.O. Box 654020
Tampa, FL 33625                        Suite 500                              Dallas, TX 75265-4020
                                       El Segundo, CA 90245



Banyan Equity                          Cozzini Brothers, Inc.                 Jolito, Inc. dba SSI Services
Investors II, Inc.                     350 Howard Avenue                      333 N. Falkenburg Rd
1111 Brickell Ave                      Des Plaines, IL 60018                  Ste B223
Suite 1300                                                                    Tampa, FL 33619
Miami, FL 33131

Banyan Mezzanine Fund II, LP           DDRTC Market Place LLC                 KRG Northdale, LLC
1111 Brickell Ave                      Dept. 107847 30394 20274               Attn Property Accountant
Suite 1300                             P.O. Box 534410                        Northdale Promenade
Miami, FL 33131                        Atlanta, GA 30353-4410                 PO Box 743810
                                                                              Atlanta, GA 30374-3810

Brixmor GA                             Downtown Discount Produce              Lakeland Electric
Cobblestone Village                    7856 Ellis Road                        P.O. Box 32006
at Royal Palm Beach, LLC               Melbourne, FL 32904                    Lakeland, FL 33802-2006
305 State Rd 312
Saint Augustine, FL 32086

Brixmor GA Cobblestone Village         Facility Concepts                      Leland E. Hicks
at Royal Palm Beach, LLC               7676 Zionsville Road                   9218 Metcalf Avenue
c/o Shumaker Look & Kendrick, LLP      Indianapolis, IN 46268                 #311
100 E. Kennedy Blvd                                                           Overland Park, KS 66212
Tampa, FL 33602

Casto-Oakbridge Venture, LTD           Florida Department of Revenue          Lucas Clermont Limited PA
C/O Casto                              P.O. Box 6668                          Nat'l Assn Account #4260602807
P.O. Box 1450                          Tallahassee, FL 32314-6668             P.O. Box 1450
Cleveland, OH 43216                                                           Columbus, OH 43216



Centro GA Cobblestone Village at St. Aug
                                       Frank Gay Plumbing, Inc.               Miller Safe & Lock, Inc.
PO Box 713460                          6206 Forest City Road                  630 N Gary Road
Cincinnati, OH 45271-3460              Orlando, FL 32810                      Lakeland, FL 33801
                    Case 8:19-bk-05842-MGW      Doc 1     Filed 06/20/19     Page 51 of 53




National Exemption Service            Securities and Exchange Commission        Walton Signage, Ltd.
P.O. BOX 9020                         801 Brickell Ave., Suite 1800             d/b/a Walton Signage
Clearwater, FL 33758-9020             Miami, FL 33131                           10101 Reunion Place, #500
                                                                                San Antonio, TX 78216



National Janitorial Solutions, Inc.   Simon Property Group, LP                  Waste Connections of Florida
14000 Commerce Parkway                MSC#7557 DEPT#CC002194                    PO Box 742695
Suite C                               PO Box 41500                              Cincinnati, OH 45274-2695
Mount Laurel, NJ 08054                Nashville, TN 37241-7557



Office Depot                          SUSO 4 North Branch LP                    Waste Pro USA - Jacksonville
P.O. Box 633204                       Keybank Lockbox Operations                PO Box 865200
Cincinnati, OH 45263-3204             PO Box 74773                              Orlando, FL 32886-5200
                                      Cleveland, OH 44194-4773



Office of Attorney General            The Garden Wholesale                      Water Boy Inc
State of Florida                      5400 Longleaf Street                      4454 19th Street Ct E
The Capitol PL-01                     Jacksonville, FL 32209                    Bradenton, FL 34203-3775
Tallahassee, FL 32399-1050



Pepsi - Cola                          United States Attorney General's Office   Waterford Lakes Town Center, LLC
Lockbox # 841828                      US Department of Justice                  Simon Property Group, LP
Dallas, TX 75284-1828                 950 Pennsylvania Avenue                   MSC#7557 Dept #CC002194
                                      Washington, DC 20530-0001                 PO Box 415000
                                                                                Nashville, TN 37241-7557

Protected Trust, LLC                  University Park - Phase I Associates      Waterford Lakes Town Center, LLC
P O Box 111                           P.O. Box 5148                             c/o David L. Gold, Esq.
                                      Winter Park, FL 32793-5148                Goldberg Segalla, LLP
                                                                                777 Brickell Ave, Ste 1370
                                                                                Miami, FL 33131

Retail Equities LLC                   US Attorney Southern District of Florida Windstream Corporation
1 Sleiman Parkway                     500 South Australian Avenue              4001 N Rodney Parham Rd
Suite 250                             Suite 400                                Little Rock, AR 72212
Jacksonville, FL 32216                West Palm Beach, FL 33401



Royal Cup                             US Foods, Inc.                            Winter Haven Citi Centre
PO BOX 841000                         7004 E. Hanna Ave                         c/o Schmier& Feurring Properties, I
Dallas, TX 75284-1000                 Tampa, FL 33610                           2200 Butts Rd, Suite #300
                                                                                Boca Raton, FL 33431



SEC Headquarters                      Walton Signage, Ltd.
100 F Street, NE                      c/o Pulman Cappuccio
Washington, DC 20549                  & Pullen, LLP
                                      2161 NW Military Hwy, # 400
                                      San Antonio, TX 78213
                              Case 8:19-bk-05842-MGW                       Doc 1      Filed 06/20/19          Page 52 of 53
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Fresh Alternatives, LLC                                                                          Case No.
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 49,500.00
             Prior to the filing of this statement I have received                                        $                 49,500.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 20, 2019                                                              /s/ Bradley S. Shraiberg
     Date                                                                       Bradley S. Shraiberg 121622
                                                                                Signature of Attorney
                                                                                Shraiberg Landau & Page PA
                                                                                2385 NW Executive Center Dr
                                                                                Suite 300
                                                                                Boca Raton, FL 33431
                                                                                561 443 0800 Fax: 561 998 0047
                                                                                bss@slp.law
                                                                                Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                              Case 8:19-bk-05842-MGW                        Doc 1      Filed 06/20/19      Page 53 of 53




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Fresh Alternatives, LLC                                                                        Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fresh Alternatives, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 20, 2019                                                       /s/ Bradley S. Shraiberg
 Date                                                                Bradley S. Shraiberg 121622
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Fresh Alternatives, LLC
                                                                     Shraiberg Landau & Page PA
                                                                     2385 NW Executive Center Dr
                                                                     Suite 300
                                                                     Boca Raton, FL 33431
                                                                     561 443 0800 Fax:561 998 0047
                                                                     bss@slp.law




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
